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June 6, 2018

Via CM/ECF


The Honorable Joanna Seybert
United States District Judge
United States District Court for the Eastern
District of New York
100 Federal Plaza
Central Islip, New York 11722-9014

      Re:      Susan M. Heuskin v. The Prudential Insurance Company of America & Pruco Life
               Insurance Company of New Jersey, Case No. 2:18-cv-02197-JS-ARL

               Request to Continue Pre-Motion Conference Pursuant to Individual Motion
               Practice IV.G

Dear Judge Seybert:

        We represent defendants The Prudential Insurance Company of America (“PICA”) and
Pruco Life Insurance Company of New Jersey (“Pruco’) in the referenced action. On April 20,
2018, defendant PICA requested a pre-motion conference pursuant to Individual Motion Practice
IV.G for a motion to be made by PICA under Rule 12(b)(6). The basis for the motion, as
explained more fully in my April 20 letter to the Court, is that the life insurance policy at issue in
this breach of contract case was issued by Pruco, not PICA, and all obligations under the policy
are Pruco’s, not PICA’s. Therefore PICA is not a proper defendant. (For its part Pruco has
answered the complaint and asserted counterclaims for rescission of the policy and declaratory
judgement.)

        In response to PICA’s April 20 letter, the Court set a pre-motion conference for this
Friday, June 8, 2018. However, the parties have conferred and it appears that the pre-motion
conference may be unnecessary at this time. Plaintiff has reviewed the policy and requested
from Pruco a declaration that it issued the insurance policy and is responsible for the obligations
under it, not PICA. Pruco is preparing the declaration and, if it is satisfactory to Plaintiff, her
counsel has advised that she will voluntarily dismiss her claims against PICA.

       Therefore PICA requests a continuance of the pre-motion conference currently scheduled
for June 8, 2018.

       We are available at the Court’s convenience should the Court require additional
information or have any questions.
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                                           Respectfully submitted,


                                            /s/ Kenneth J. Pfaehler
                                            Kenneth J. Pfaehler


cc: Edward J. Nitkewicz, Esq. (via CM/ECF and e-mail)
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